Case 22-10580-ABA            Doc 6     Filed 03/10/22 Entered 03/10/22 12:25:43                  Desc Main
                                       Document      Page 1 of 1

                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY


In Re:                                                     Case No.:             22-10580
                                                                            __________________
Jonathan M. Gonzalez                                       Chapter:                  7
                                                                            __________________
                                                           Judge:                  ABA
                                                                            __________________


                             NOTICE OF PROPOSED ABANDONMENT

__________________________________, ____________________ in this case proposes to abandon
property of the estate described below as being of inconsequential value. If you object to the
abandonment, you must file a written objection with the Clerk of the United States Bankruptcy Court and
serve it on the party named below not later than 7 days before the hearing date.

 Address of the Clerk: Mitchell H. Cohen US Courthouse
                         401 Market Street
                         Camden, NJ 08101



                                                                                       Andrew B. Altenburg, Jr.
If an objection is filed, a hearing will be held before the Honorable _______________________________
             04/19/22
on ______________________                 10
                                  at ________a.m.       at the United States Bankruptcy Court, Courtroom no.
    4B
________. (Hearing date must be at least 28 days from the date of this notice). If no objection is filed, the
abandonment shall take effect on entry by the clerk of a Certification of No Objection.
 Description and value of property: 3 West Curran Drive
                                      Absecon, NJ
                                      Value $314,880.00



 Liens on property:                    Midland Mortgage
                                       $227,889.00




 Amount of equity claimed as exempt: 25,1500.00



Objections must be served on, and requests for additional information directed to:

Name:            Brian S. Thomas, Chapter 7 Trustee
                 ________________________________________________________________________
Address:         327 Central Avenue, Suite 103, Linwood, NJ 08221
                 ________________________________________________________________________
               609-601-6066
Telephone No.: ________________________________________________________________________

                                                                                                       rev.8/1/15
